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                         UNITED STATES DISTRICT COURT
                       FOR THE DISTRICT OF MASSACHUSETTS


COMMONWEALTH OF
MASSACHUSETTS, et al.

                                Plaintiffs,

        v.                                                         No. l:25-cv-10338

NATIONAL INSTITUTES OF HEALTH,
et al.

                                Defendants.


                      DECLARATION OF IN-PERSON SERVICE ON
                      THE UNITED STATES ATTORNEY’S OFFICE

       I hereby declare as follows:

       1.      lam over the age of eighteen and am not a party to this litigation.

       2.      I received summonses directed to defendants National Institutes of Health,

Matthew Memoli, M.D., M.S., U.S. Department of Health and Human Services, and Dorothy Fink.

       3.      On February 12, 2025,1 hand-delivered a copy of the summonses described in the

preceding paragraph, along with copies of the Complaint (Dkt. No. 1 and attachments), Emergency

Motion for Temporary Restraining Order (Dkt. No. 4), Katherine Dirks Declaration in Support of

that motion (Dkt. No. 6 and attachments), and Memorandum in Support of that motion (Dkt. No.

12) to the Office of the United States Attorney for the District of Massachusetts at One Courthouse

Way, Suite 9200, Boston, MA 02210.

       4.      The foregoing documents were left with an individual authorized to accept service

of process on behalf of the United States Attorney’s Office.
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       I declare under penalty of perjury that the foregoing is true and correct.




Date                                                  Signature




                                                     Printed Name




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